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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                               §
                                                     §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                           §      Chapter 11 (Subchapter V)
                                                     §
         Debtor.                                     §

           DEBTOR’S SECOND NOTICE OF PQPR INVENTORY INSTALLMENT
                  PAYMENT TO PQPR HOLDINGS LIMITED, LLC.

         PLEASE TAKE NOTICE that on September 24, 2022, the Court entered its Second Interim

Order Authorizing Debtor’s Use of Cash Collateral and Providing Partial Adequate Protection

[Dkt. No. 98] (the “Interim Order”). In part, the Interim Order authorized Free Speech Systems,

LLC (“Debtor”) to pay PQPR Holdings Limited, LLC (“PQPR”) $750,000 to “Repay PQPR

Inventory”. The Interim Order required the Debtor to file notice on the Court’s docket that the

payment has been issued.

         PLEASE TAKE FURTHER NOTICE that the Debtor filed its Notice of PQPR Inventory

Installment Payment to PQPR Holdings Limited, LLC on August 23, 2023 [Dkt. No. 95] notifying

the Court, creditors and parties in interest of the payment of the first installment of $250,000 to

PQPR.

         PLEASE TAKE FURTHER NOTICE that on February 2, 2023, the Debtor paid the final

installment to PQPR to complete payment of the remaining $500,000 balance owed to PQPR for

inventory purchases as provided for in the Interim Order.
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     Respectfully submitted.

                                           LAW OFFICES OF RAY BATTAGLIA, PLLC


                                           /S/ RAYMOND W. BATTAGLIA
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                                           Counsel to the Debtor and Debtor-In-Possession



                               CERTIFICATE OF SERVICE
     I hereby certify that a true and correct copy of the foregoing document was served by the
Court’s CM/ECF system on all parties registered to receive such service on the date of filing,

                                          /s/Raymond W. Battaglia
                                          Raymond W. Battaglia




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